Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 1 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 2 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 3 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 4 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 5 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 6 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 7 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 8 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 9 of 23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 10 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 11 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 12 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 13 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 14 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 15 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 16 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 17 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 18 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 19 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 20 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 21 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 22 of
                                      23
Case 1:18-cv-01761-MSK-NYW Document 68-6 Filed 07/07/19 USDC Colorado Page 23 of
                                      23
